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 1                       UNITED STATES DISTRICT COURT

 2                              DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                      Case No. 2:13-cr-00345-JAD-GWF
 4
                 Plaintiff,                         ORDER
 5
           v.                                             ECF No. 117
 6
     TEVIN JEROME GREER,
 7
                 Defendant.
 8
 9
10         Based on the parties stipulation and good cause appearing, IT IS

11   ORDERED that the hearing on a petition for revocation of supervised release

12   currently scheduled for Tuesday, December 29, 2020 at 2:00 p.m., be vacated and

13   continued to January 14, 2021, at 11:00 a.m.

14
           DATED this 29th day of December, 2020.
15
16                                         UNITED STATES DISTRICT JUDGE

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